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                                                         October 7, 2021
                  VIA ELECTRONIC FILING
                  The Honorable Mitchell S. Goldberg
                  7614 US Courthouse
                  Courtroom 4-B
                  601 Market Street
                  Philadelphia, PA 10106

                            Re:           John Doe v. Thermo Electric Company, Inc. et al.; U.S.D.C. for the
                                          Eastern District of Pennsylvania, No. 21-1648________________

                  Dear Judge Goldberg:

                         I represent the Plaintiff, John Doe, in the above captioned matter. I write to report that the
                  above matter has settled between the parties and we respectfully request Your Honor enter a
                  Fed.R.C.P. 41.1(b) Order dismissing the case with prejudice and with the parties bearing their
                  own costs and fees.

                            Thank you for Your Honor’s kind consideration of this request.


                                                                           Sincerely,


                                                                           BRIAN M. DOYLE
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                  BMD/aa
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